                  Case 3:20-cr-00249-RS
DOCUMENTS UNDER SEAL
                                                   Document 68           Filed 09/03/21 Page 1
                                                                            TOTAL TIME (m ins):
                                                                                                  of 1
                                                                                                5 minutes
MAGISTRATE JUDGE                         DEPUTY CLERK                              REPORTER/',*,7$/5(&25',1*
MINUTE ORDER=220                       Melinda K. Lock                          10:57-11:02
MAGISTRATE JUDGE                          DATE                                      NEW CASE         CASE NUMBER
SALLIE KIM                                September 3, 2021                                         3:20-cr-00249-RS
                                                     APPEARANCES
DEFENDANT                                  AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                       PD.       RET.
Rowland Marcus Andrade                             N         P       Michael Shepard (special appear.)       APPT.
U.S. ATTORNEY                              INTERPRETER                            FIN. AFFT                COUNSEL APPT'D
Andrew Dawson                                                                     SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR             PARTIAL PAYMENT
                            Brad Wilson                              APPT'D COUNSEL               OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                              STATUS
                                                                                                                TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT            BOND HEARING              IA REV PROB. or              OTHER
      not held                                                                     or S/R
       DETENTION HRG              ID / REMOV HRG         CHANGE PLEA               PROB. REVOC.                 ATTY APPT
                                                                                                                HEARING
                                                    INITIAL APPEARANCE
        ADVISED                ADVISED                  NAME AS CHARGED              TRUE NAME:
        OF RIGHTS              OF CHARGES               IS TRUE NAME
                                                       ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON              READING W AIVED             W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT                SUBSTANCE
                                                        RELEASE
      RELEASED           ISSUED                     AMT OF SECURITY          SPECIAL NOTES                 PASSPORT
      ON O/R             APPEARANCE BOND            $                                                      SURRENDERED
                                                                                                           DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                      REAL PROPERTY:
    CASH    $


      MOTION           PRETRIAL               DETAINED           RELEASED       DETENTION HEARING                 REMANDED
      FOR              SERVICES                                                 AND FORMAL FINDINGS               TO CUSTODY
      DETENTION        REPORT                                                   W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                             PLEA
   CONSENT                    NOT GUILTY                    GUILTY                   GUILTY TO COUNTS:
   ENTERED
   PRESENTENCE                CHANGE OF PLEA                PLEA AGREEMENT           OTHER:
   REPORT ORDERED                                           FILED
                                                       CONTINUANCE
TO:                               ID OF COUNSEL           BOND                    STATUS RE:
9/13/2021                         HEARING                 HEARING                 CONSENT                     TRIAL SET

AT:                               SUBMIT FINAN.             PRELIMINARY           CHANGE OF                  67$786
                                  AFFIDAVIT                 HEARING               PLEA                   Re: Hearing to determine
10:30 AM                                                    BBBBBBBBBBBBB                                CJA contributions
BEFORE HON.                       DETENTION                 $55$,*1MENT            MOTIONS                    JUDGMENT &
                                  HEARING                                                                     SENTENCING
Sallie Kim
        TIME W AIVED              TIME EXCLUDABLE           IDENTITY /            PRETRIAL                    PROB/SUP REV.
                                  UNDER 18 § USC            REMOVAL               CONFERENCE                  HEARING
                                  3161                      HEARING
                                                 ADDITIONAL PROCEEDINGS
Defendant waives personal appearance and consents to proceeding by video. Mr. Shepard appeared as potential CJA counsel
but is still working to determine if he has any conflicts.

                                                                                        DOCUMENT NUMBER:
